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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

JESSIE HARRISON #185856,

               Plaintiff,                             Case No. 1:10-cv-00570

v.                                                    Hon. Janet T. Neff

SANDRA GRANT, et al.,
                                                      ORDER APPOINTING COUNSEL
               Defendants.

       Plaintiff being in need of counsel to assist in this matter, and the Court having determined

that appointment of counsel would be in the interest of justice under the Court’s Pro Bono

Appointment Plan:

       IT IS HEREBY ORDERED that Attorney Bradley K. Glazier, of the law firm Bos & Glazier

PLC, 990 Monroe Ave NW, Grand Rapids, MI 49503, (616) 458-6814, is appointed as counsel for

plaintiff in this matter. plaintiff may seek reimbursement from the cost reimbursement fund for costs

and expenses pursuant to the Pro Bono Plan guidelines. If plaintiff prevails in this matter and

receives an award of costs or attorney’s fees, first priority shall be given to reimbursing funds

received from the cost reimbursement fund.

       IT IS FURTHER ORDERED that, as stated at ¶ 4 of the Guidelines for the Court’s Pro Bono

Appointment Plan, all proceedings in this action will be stayed for a period of four weeks from the

date of this order. Pursuant to ¶ 5 of the Plan,“Shortly before the expiration of the stay of

proceedings . . . the Court shall conduct a status conference with all parties represented.” A notice

from the presiding or referral judge in this matter will enter regarding that conference.


Date: November 6, 2013                                 /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge
